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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re:                                  )                Chapter 11
                                        )
NNN 400 CAPITOL CENTER 16, LLC, et al., )                Case No. 16-12728 (JTD)
                                        )                (Jointly Administered)
          Debtors.                      )
NNN 400 CAPITOL CENTER, LLC, et al.,    )
                                        )
          Plaintiffs,                   )
                                        )
     v.                                 )                Adv. Pro. No. 18-50384 (JTD)
                                        )
WELLS FARGO BANK, N.A., AS TRUSTEE      )
FOR THE REGISTERED HOLDERS OF           )
COMM 2006-C8 COMMERCIAL MORTGAGE )
PASS-THROUGH CERTIFICATES; LNR          )
PARTNERS, LLC, et al.,                  )
                                        )
          Defendants.                   )                Re: D.I. 352


                                          ORDER

         In connection with the trial scheduled for December 9, 2019 the Debtors’ filed a

Motion for Authority to Retain and Compensate George Smith Partners as Expert

Witness (D.I. 416, Adv. D.I. 352) (the “Motion”). Little Rock 400-West Capitol Trust

(“Little Rock”) filed Secured Creditor’s Limited Objection to Debtors’ Motion for

Authority to Retain and Compensate George Smith Partners as Expert Witness (D.I. 430,

Adv. D.I 404) asserting that while Little Rock did not object to the retention of the expert,

as secured lender, it objects to payment of the retainer and/or fees from its cash collateral

as provided for in the Court’s last Interim Cash Collateral Order (D.I. 301). Given the

provisions of the last Interim Cash Collateral Order, the Motion is granted, with the
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proviso that neither the George Smith Partners’ retainer nor George Smith Partners’ fees

are to be paid from Secured Creditor’s Cash Collateral.




Dated: December 2, 2019                        ____________________________________
                                               JOHN T. DORSEY, U.S.B.J.




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